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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

 IN RE CATTLE AND BEEF                              Case No. 22-md-3031 (JRT/JFD)
 ANTITRUST LITIGATION


 This Document Relates To:                          Motion for Preliminary Approval of
                                                    Class Action Settlement Between
 THE COMMERCIAL AND                                 the Commercial and Institutional
 INSTITUTIONAL INDIRECT                             Indirect Purchaser Plaintiffs and
 PURCHASER PLAINTIFF ACTION                         JBS and for Leave to Disseminate
                                                    Notice



       The Commercial and Institutional Indirect Purchaser Plaintiffs respectfully move the

Court for preliminary approval of the class action settlement between the Commercial and

Institutional Indirect Purchaser Plaintiffs (“CIIPPs”) and JBS USA Food Company, Swift Beef

Company, JBS Packerland, Inc., and JBS S.A. The CIIPPs further seek this Court’s approval

of the form and manner of notice regarding this class action settlement, and request that the

Court grant leave to disseminate notice. This motion is based on Federal Rule of Civil

Procedure 23 and the concurrently filed memorandum of law and supporting declarations as

well as any other evidence and arguments presented to the Court at any hearing on this motion.

Dated: April 14, 2023                      Larson · King, LLP


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